Case 2:04-cv-09049-DOC-RNB Document 4316-14 Filed 09/30/08 Page 1 of 5 Page ID
                                 #:110093
Case 2:04-cv-09049-DOC-RNB Document 4316-14 Filed 09/30/08 Page 2 of 5 Page ID
                                 #:110094
Case 2:04-cv-09049-DOC-RNB Document 4316-14 Filed 09/30/08 Page 3 of 5 Page ID
                                 #:110095
Case 2:04-cv-09049-DOC-RNB Document 4316-14 Filed 09/30/08 Page 4 of 5 Page ID
                                 #:110096
Case 2:04-cv-09049-DOC-RNB Document 4316-14 Filed 09/30/08 Page 5 of 5 Page ID
                                 #:110097
